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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                                        Case No. 1:22-cr-19-3-RCL

 ROBERT TURNER,

         Defendant.


                                             ORDER

       In consideration of attorney Ned Smock's Motion [49] to Withdraw and defendant Robert

Turner's Motion [51] for Appointment of New Counsel, as well as the Court's ex parte discussion

with Mr. Smock and Mr. Turner at the February 7, 2023 status conference and the appearance of

attorneys Brittany Sherron and Richard Falls on behalf of Mr. Turner, it is hereby ORDERED

that the motion to withdraw is GRANTED and the motion for appointment of new counsel is

GRANTED, nunc pro tune. The Court reminds Mr. Turner, as it admonished him at the status

conference, that it is granting his request for new counsel one time and one time only.

       IT IS SO ORDERED.



Date: February -1.Jl., 2023
                                                                  Royce C. Lamberth
                                                                  United States District Judge




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